Case 3:24-cv-00195-WQH-BLM Document 10-1 Filed 02/29/24 PageID.123 Page 1 of 13




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   16
                             UNITED STATES DISTRICT COURT
   17
                          SOUTHERN DISTRICT OF CALIFORNIA
   18

   19 JOSEPH HIGGINBOTTOM,                          Case No. 3:24-cv-00195-WQH-BLM
      individually on behalf of heirs, and as
   20 Personal Representative of the ESTATE         PLAINTIFF’S MEMORANDUM
      OF ANTHONY HIGGINBOTTOM,                      OF POINTS AND AUTHORITIES
   21
                    Plaintiff,                      IN SUPPORT OF PLAINTIFF’S
   22                                               MOTION TO REMAND
              v.
   23
        DEXCOM, INC.;                               Hon. William Q. Hayes
   24 TANDEM DIABETES CARE, INC.;                   Date: April 8, 2024
        and DOES 1-50, inclusive,
   25                                               NO ORAL ARGUMENT UNLESS
                    Defendants.                     REQUESTED BY THE COURT
   26

   27

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                                                1
         PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
                                           TO REMAND
Case 3:24-cv-00195-WQH-BLM Document 10-1 Filed 02/29/24 PageID.124 Page 2 of 13




    1                                          TABLE OF CONTENTS
    2 I.    INTRODUCTION ............................................................................................... 4
    3 II.       PROCEDURAL BACKGROUND ................................................................. 5
    4
        III. LEGAL ARGUMENT ..................................................................................... 6
    5
           A.     Forum Defendants Cannot Remove ............................................................ 6
    6
           B.     Tandem Failed to Complete Removal Before Being Served ..................... 7
    7

    8      C.     The Elements for Colorado River Abstention are Present ....................... 9
    9 IV.       CONCLUSION ............................................................................................... 11
   10

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   12

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         PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
                                           TO REMAND
Case 3:24-cv-00195-WQH-BLM Document 10-1 Filed 02/29/24 PageID.125 Page 3 of 13




    1                                             TABLE OF AUTHORITIES
    2
        Cases
    3
        Carlson v. State of California Dep’t of Fish & Game, 68 Cal. App. 4th 1268 (1998)9
    4
        Casola v. Dexcom, Inc., Case No.: 22cv1865-JO-MDD (S.D. Cal. Mar. 31, 2023) .. 9
    5
        Colo. River Water Conservation Dist. v. United States, 424 U.S. 800 (1976) ..... 6, 10
    6
        Gaus v. Miles, Inc., 980 F.2d 564 (9th Cir. 1992) ....................................................... 6
    7
        Kokkonen v. Guardian life Ins. Co. of Am., 511 U.S. 375, 377 (1994) ....................... 6
    8
        Lively v. Wild Oats Mkts., Inc., 456 F.3d 933 (9th Cir. 2006) .................................... 7
    9
        Loya v. Desert Sands Unified School Dist., 721 F.2d 279 (9th Cir. 1983) ................. 9
   10
        Moses H Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1 (1983) ............. 11
   11
        R.R. St. & Co. v. Transp. Ins. Co., 656 F.3d 966 (9th Cir. 2011) ............................. 10
   12
        Seneca Insurance Company, Inc. v. Strange Land, Inc., 832 F.3d 835 (9th Cir. 2017)
   13
           ................................................................................................................................ 10
   14
        Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100 (1941) ....................................... 6
   15
        Spencer v. U.S. District Court for N. Dist. of Cal., 393 F.3d 867, 870 (9th Cir. 2004)
   16
           .................................................................................................................................. 7
   17
        U.S. v. Dae Rim Fishery Co., Ltd., 794 F.2d 1392 (9th Cir. 1986) ............................. 9
   18
        Statutes
   19
        28 U.S.C. § 1332.......................................................................................................... 6
   20
        28 U.S.C. § 1332(c)(1) ................................................................................................ 7
   21
        28 U.S.C. § 1441.......................................................................................................... 6
   22
        28 U.S.C. § 1441(b)(2) ................................................................................................ 7
   23

   24
        28 U.S.C. § 1446(a) ..................................................................................................... 7

   25
        28 U.S.C. § 1446(b)(1) ................................................................................................ 7

   26
        28 U.S.C. § 1446(b)(2)(A) ........................................................................................... 7

   27
        28 U.S.C. § 1446(d) ..................................................................................................... 7

   28
        28 U.S.C. § 1447(d) ................................................................................................... 11
                                                                          3
         PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
                                           TO REMAND
Case 3:24-cv-00195-WQH-BLM Document 10-1 Filed 02/29/24 PageID.126 Page 4 of 13




    1                    MEMORANDUM OF POINTS AND AUTHORITIES
    2             Plaintiff Joseph Higginbottom, individually on behalf of heirs, and as
    3 Personal Representative of the Estate of Anthony Higginbottom (“Plaintiff”), by and

    4 through his undersigned counsel, hereby submits this Brief in Support of Plaintiff’s

    5 Motion to Remand.

    6        I.      INTRODUCTION
    7             This case belongs in the San Diego Superior Court. Currently, at least 21
    8 similar cases against Dexcom, Inc. (“Dexcom”) are being litigated there. 1 Anthony

    9 Higginbottom died at just 16 years old because his continuous glucose monitoring

   10 system—designed, manufactured, and sold by Dexcom—and his integrated insulin

   11 pump—designed, manufactured, and sold by Tandem Diabetes Care, Inc.

   12 (“Tandem”)—failed to work as designed. The two devices are designed to work

   13 together as an integrated system, however, due to a device malfunction, Anthony

   14 misread his glucose levels and allowed his pump to administer two boluses of

   15 insulin too close together, ultimately triggering a hypoglycemic event. This event

   16 resulted in a fatal motor vehicle collision in Cheyene, Wyoming. See Exh. A. The

   17 performance and design of these glucose monitoring and maintenance devices,

   18 along with the adequacy of their warnings, make up the substantive basis of these

   19 cases. Id.

   20             Tandem, acting alone and after this Court has remanded nearly two dozen
   21 Dexcom cases, attempted the same ill-favored forum defendant removal tactic to try

   22 and avoid the most appropriate forum: Plaintiff’s chosen forum—San Diego

   23 Superior Court.

   24             “Snap” removal is not cute; it is unbecoming procedural gamesmanship. As
   25 the various district court judges ruled in earlier Orders of remand in related cases.

   26

   27  Plaintiff’s Counsel filed 3 additional cases solely against Dexcom, bringing the
        1

      number to 24 filed cases. Dexcom has not sought to remove. Plaintiff expects these
   28
      cases will be coordinated and handled as a related litigation. See Exh. F.
                                                     4
            PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
                                              TO REMAND
Case 3:24-cv-00195-WQH-BLM Document 10-1 Filed 02/29/24 PageID.127 Page 5 of 13




    1 See Exh. E.

    2        II.      PROCEDURAL BACKGROUND
    3              Plaintiff filed his Complaint on Friday, January 26, 2024 in the Superior
    4 Court of San Diego, California, civil action file no. 37-2024-00003700-CU-PL-CTL

    5 (“State Court Action”). Exh. A. After receiving an electronic docketing notice on

    6 January 29, 2024, Mr. Higginbottom’s process server personally served both

    7 Dexcom and Tandem at 1:37 p.m. PST, January 30, 2024. See Exh. B.

    8              However, Tandem apparently had advance notice of the lawsuit, so it initiated
    9 a removal of the State Court Action at 12:38 p.m. PST, January 30, 2024, before

   10 having a stamped copy of the lawsuit to include with its removal notice. See [Doc.

   11 1, Exh. A]; Exh. C. Furthermore, associated case initiation filings were not included

   12 in the removal, as required by 28 U.S.C. § 1446(a). Tandem’s counsel took the

   13 position that removal happened before personal service because it initiated the

   14 removal at 12:38 p.m. PST; yet, the Clerk of Court for the United States District

   15 Court for the Southern District of California identifies the filing of the removal at

   16 3:50 p.m. PST, after service upon all defendants had been perfected. See Exh. B &

   17 Exh. C.

   18              Moreover, Tandem did not obtain consent from Dexcom prior to initiating its
   19 removal nor has it obtained that consent to date, and did not include all pleadings

   20 associated with initiating lawsuit in the removal. See [Doc. 1; Exh. A]. These

   21 procedural failures leave Tandem’s removal wanting.

   22              Undeterred by its procedural failures in completing the removal, Tandem
   23 further ignored the various district court judges’ clear message in numerous orders

   24 remanding cases where Dexcom, also a forum defendant in related litigation,

   25 previously attempted “snap” removal. 2 See Exh. E. Even if Tandem had properly

   26

   27  Three cases: Glenn v. Dexcom, Inc., Case No.: 3:22-cv-1866; Kimbler v. Dexcom,
        2

   28 Inc., Case No.: 3:22-cv-1867; and Monahan v. Dexcom, Inc., Case No.: 3:22-cv-
                                                      5
            PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
                                              TO REMAND
Case 3:24-cv-00195-WQH-BLM Document 10-1 Filed 02/29/24 PageID.128 Page 6 of 13




    1 completed its removal, which it assuredly did not, the various remand orders

    2 addressing removal by a forum defendant demonstrate why this tactic is disfavored

    3 and commonly results in remand. Id.

    4         Ultimately, if this Court has any reservation about remanding under the
    5 specific facts of this specific attempt at removal, the court may exercise its

    6 abstention powers utilizing a Colorado River analysis. See Colo. River Water

    7 Conservation Dist. v. United States, 424 U.S. 800 (1976).

    8      III.   LEGAL ARGUMENT
    9         A. Forum Defendants Cannot Remove
   10         A defendant may remove a state action to federal court only if the federal
   11 court would originally have had federal question or diversity jurisdiction over the

   12 matter. See 28 U.S.C. § 1441; Kokkonen v. Guardian life Ins. Co. of Am., 511 U.S.

   13 375, 377 (1994). Because federal courts are courts of limited jurisdiction, there is a

   14 strong presumption against removal jurisdiction. Kokkonen, 511 U.S. at 377 (1994);

   15 Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100, 108-9 (1941). This “strong

   16 presumption against removal jurisdiction means that the defendant always has the

   17 burden of establishing that removal is proper.” Gaus v. Miles, Inc., 980 F.2d 564,

   18 566 (9th Cir. 1992). Thus, a court must reject federal jurisdiction “if there is any

   19 doubt as to the right of removal in the first instance.” Id.

   20         The removal in this case rests solely on diversity jurisdiction because Plaintiff
   21 and Tandem are citizens of different states: Wyoming and California, respectively.

   22 Diversity jurisdiction requires both complete diversity of citizenship of the parties

   23 and an amount in controversy exceeding $75,000. 28 U.S.C. § 1332. These two

   24 elements are present here; however, Tandem fails the “forum defendant rule”

   25 because a civil action may not be removed if any defendant is a citizen of the state

   26

   27 1872 are now administratively closed pending appeal to Ninth Circuit. The district
        court found these three cases failed to file a motion to remand within thirty days of
   28
        removal. 28 U.S.C. § 1447(c).
                                                  6
         PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
                                           TO REMAND
Case 3:24-cv-00195-WQH-BLM Document 10-1 Filed 02/29/24 PageID.129 Page 7 of 13




    1 where the complaint was filed. 28 U.S.C. § 1441(b)(2). For the purposes of diversity

    2 jurisdiction, “a corporation shall be deemed to be a citizen of every State … where it

    3 has its principal place of business…” 28 U.S.C. § 1332(c)(1).

    4        Here, both Tandem and Dexcom are forum defendants, and therefore, the
    5 forum defendant rule makes removal of this matter improper. More specifically, the

    6 forum defendant rule “confines removal on the basis of diversity jurisdiction to

    7 instances where no defendant is a citizen of the forum state.” Lively v. Wild Oats

    8 Mkts., Inc., 456 F.3d 933, 939 (9th Cir. 2006); see also Spencer v. U.S. District

    9 Court for N. Dist. of Cal., 393 F.3d 867, 870 (9th Cir. 2004). Diversity jurisdiction

   10 exists to protect out-of-state defendants from bias or “potential prejudices in state

   11 court”, so the bar to removal by forum defendants reflects the absence of the reason

   12 for diversity of citizenship removals in the first place. See Lively, 456 F.3d at 942.

   13 Simply, Tandem had no right to remove, and accordingly, this case must be

   14 remanded.

   15        B. Tandem Failed to Complete Removal Before Being Served
   16        Next, the removal statute provides a defendant must file a notice of removal
   17 upon receipt “of a copy of the initial pleading setting forth the claim for relief upon

   18 which such action or proceeding is based[.]” 28 U.S.C. § 1446(b)(1). Further, a

   19 defendant’s removal must include “a copy of all process, pleadings, and orders

   20 served upon such defendant…” 28 U.S.C. § 1446(a). Further, a defendant must also

   21 obtain consent of all defendants properly joined and served in order to remove a

   22 case to federal court. See 28 U.S.C. § 1446(b)(2)(A). Finally, after filing a notice of

   23 removal, a defendant “shall give written notice thereof to all adverse parties and

   24 shall file a copy of the notice with the clerk of such State court, which shall effect

   25 the removal and the State court shall proceed no further unless and until the case is

   26 remanded.” 28 U.S.C. § 1446(d).

   27        Here, Tandem failed to comply with all of these statutory requirements. First,
   28 the notice of removal only contains a copy of the unstamped state court complaint
                                               7
        PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
                                          TO REMAND
Case 3:24-cv-00195-WQH-BLM Document 10-1 Filed 02/29/24 PageID.130 Page 8 of 13




    1 and does not include the other filings within the state court docket. See [Doc. 1;

    2 Exh. A]. Second, Tandem did not obtain consent from Dexcom before initiating the

    3 removal. [Doc. 1].

    4        Tandem mistakenly relies upon initiating its removal before being served, and
    5 therefore, may remove despite the forum defendant prohibition. This presumption is

    6 wrong for several reasons.

    7        First, District Court Judge Jinsook Ohta rejected an argument similar to
    8 Tandem’s here, namely, that a forum defendant may remove a matter if the removal

    9 is completed before service on the forum defendant is perfected. In Judge Ohta’s

   10 August 2023 Order of Remand in another Dexcom case (Mund v. Dexcom, Inc.),

   11 the court made clear:

   12              Despite its admitted status as a California citizen,
   13
                   Defendant argues that it evaded the forum defendant rule
                   simply by filing a Notice of Removal prior to being served.
   14              Defendant points to the language of § 1441(b)(2) which
   15              prohibits the removal of a diversity action “if any of the
                   parties in interest properly joined and served as
   16              defendants.” §1441(b)(2). Because Dexcom, the only
   17              defendant in the case, had not yet been served. the company
                   argued that the forum defendant rule does not apply. The
   18              Court does not credit Dexcom’s interpretation of this
   19              statutory language to circumvent the forum defendant rule.
                   The clear purpose of the forum defendant rule is to prevent
   20              “a local defendant from removing on the basis of diversity
   21              jurisdiction” and, thereby, “allow[] the plaintiff to regain
                   some control over forum selection”. Lively, 456 F.3d at
   22              940; Home Depot U.S.A., Inc. v. Jackson, 139 S. Ct. 1743,
   23              1748 (2019) (“[W]hen federal jurisdiction is based on
                   diversity jurisdiction…the case may not be removed if any
   24              defendant is a Citizen of the State in which such action is
   25              brought”). Here, Dexcom is the only defendant in the case
                   and, admittedly, a California citizen. To interpret the
   26              language of the forum defendant rule to allow Defendant to
   27              evade this limitation simply by removing the case before it
                   is served does not serve the purpose of the removal statutes.
   28        Case No.: 22cv01990-JO-MMP ; Exh. E at 48.
                                                 8
        PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
                                          TO REMAND
Case 3:24-cv-00195-WQH-BLM Document 10-1 Filed 02/29/24 PageID.131 Page 9 of 13




    1        Judge Ohta’s rationale is persuasive and should be followed here. So, as a
    2 forum defendant, Tandem may not remove even if the removal occurred before

    3 service was perfected (which, as explained herein, it did not).

    4        Turning more specifically to service, Plaintiff perfected service upon
    5 Dexcom, a forum defendant, and Tandem, also a forum defendant, on January 30,

    6 2024 at 1:37 p.m. PST. Exh. B. Tandem argues it properly removed this case at

    7 12:38 p.m. PST because it initiated its removal filing at that time. Exh. C.

    8 Defendant’s fast-and-loose play with the timeline of this matter is a note off key.

    9        Importantly, the U.S. District Court Clerk for the Southern District of
   10 California docketed the removal at 3:50 p.m. PST on January 30, 2024— hours after

   11 service was complete. Exh. B & Exh. C.

   12        California law does not recognize the time of initiation as the time of filing
   13 unless considering timeliness for statute of limitation purposes. U.S. v. Dae Rim

   14 Fishery Co., Ltd., 794 F.2d 1392 (9th Cir. 1986), Loya v. Desert Sands Unified

   15 School Dist., 721 F.2d 279 (9th Cir. 1983), and Carlson v. State of California Dep’t

   16 of Fish & Game, 68 Cal. App. 4th 1268 (1998).

   17        Judge Ohta, in another Dexcom remand order, addressed such an argument.
   18 See Casola v. Dexcom, Inc., Case No.: 22cv1865-JO-MDD (S.D. Cal. Mar. 31,

   19 2023). Like Mund, Tandem is, again, aware of the Casola decision; it’s chosen to

   20 proceed regardless. In Casola, the court rejected the time of filing and limited the

   21 cases related to the time of filing to cases involving a harsh result for defects in

   22 pleadings submitted prior to the expiration of the statute of limitations. Exh. E, 5-6.

   23 Because the initiation of the removal action occurred after Plaintiff effectuated

   24 service on Tandem (1:37 p.m. PST service, 3:50 p.m., PST case initiation), this case

   25 must be remanded pursuant to the forum defendant prohibition of removal.

   26        C. The Elements for Colorado River Abstention are Present
   27        Finally, even if Tandem’s removal met procedural requirements for a forum
   28 defendant to remove the case, Tandem cannot defeat Colorado River abstention
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        PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
                                          TO REMAND
Case 3:24-cv-00195-WQH-BLM Document 10-1 Filed 02/29/24 PageID.132 Page 10 of 13




    1 under the exceptional circumstances of this case. See Colo. River Water

    2 Conservation Dist. v. United States, 424 U.S. 800 (1976). A district court must

    3 exercise its jurisdiction unless “exceptional circumstances … serv[ing] an important

    4 countervailing interest” justify Colorado River abstention. Colo. River, 424 U.S. at

    5 813. Such exceptional circumstances exist here.

    6        The United States Supreme Court identified the following three factors to
    7 consider in determining whether abstention is appropriate: (1) inconvenience of the

    8 federal forum; (2) the desirability of avoiding piecemeal litigation; and (3) the order

    9 in which jurisdiction was obtained by courts involved. Id. at 818. The Ninth Circuit

   10 expanded the factors for the Colorado River multi-pronged test in determining

   11 whether “exceptional circumstances” exist warranting federal abstention from

   12 concurrent federal and state proceedings:

   13        (1) which court first assumed jurisdiction over any property at stake;
   14        (2) the inconvenience of the federal forum;
   15        (3) the desire to avoid piecemeal litigation;
   16        (4) the order in which the forums obtained jurisdiction;
   17        (5) whether federal law or state law provides the rule of decision on the
   18        merits;
   19        (6) whether the state court proceedings can adequately protect the rights of
   20        the federal litigants;
   21        (7) the desire to avoid forum shopping; and
   22        (8) whether the state court proceedings will resolve all issues before the
   23        federal court.
   24        R.R. St. & Co. v. Transp. Ins. Co., 656 F.3d 966, 978-79 (9th Cir. 2011); see
   25 also Seneca Insurance Company, Inc. v. Strange Land, Inc., 832 F.3d 835, 841-42

   26 (9th Cir. 2017). “No one factor is necessarily determinative.” Colo. River, 424 U.S.

   27 at 818. Furthermore, “[t]he weight to be given to any one factor may vary greatly

   28 from case to case.” Moses H Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S.
                                            10
        PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
                                          TO REMAND
Case 3:24-cv-00195-WQH-BLM Document 10-1 Filed 02/29/24 PageID.133 Page 11 of 13




    1 1, 16 (1983).

    2         Here, most, if not all of the factors weigh in favor of abstention. First, the
    3 Dexcom cases all began in San Diego Superior Court. Federal court is an

    4 inconvenient forum to hear a single integrated diabetes monitoring system,

    5 especially when approximately 24 cases are currently progressing in San Diego

    6 Superior Court – the very county where Tandem and Dexcom reside. Indeed, this

    7 would be the archetype of piecemeal litigation Colorado River abstention is

    8 designed to avoid; particularly when substantial progress has been made in earlier

    9 filed state court cases.

   10         Tandem is blatantly forum shopping. San Diego Superior Court adequately
   11 protects the rights of all the litigants involved in this state law-based tort action, and

   12 a state court possesses the capability to analyze the only foreseeable federal law

   13 factor favoring Tandem: whether Mr. Higginbottom’s state law claims are

   14 preempted by the Federal Food, Drug, and Cosmetics Act found in 21 U.S.C. §

   15 360k(a) as analyzed in Riegal v. Medtronic, Inc., 552 U.S. 312 (2008). Federal

   16 preemption analyses are routine in state court drug and medical device cases, and

   17 therefore, not a compelling reason to override the other extraordinary factors

   18 favoring abstention.

   19         Finally, as with the issues of the propriety of a forum defendant removing an
   20 action and the whether the procedural requirements for removal are met, this Court’s

   21 discretion to invoke Colorado River abstention and decline jurisdiction is not

   22 reviewable for diversity proceedings. See 28 U.S.C. § 1447(d).

   23     IV.    CONCLUSION
   24         For all the reasons set forth here, Tandem’s removal of this matter is
   25 improper, and Plaintiff requests that this Court remand the matter to the Superior

   26 Court of San Diego.

   27

   28
                                                   11
        PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
                                          TO REMAND
Case 3:24-cv-00195-WQH-BLM Document 10-1 Filed 02/29/24 PageID.134 Page 12 of 13




    1 DATED: February 29, 2024

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         PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
                                           TO REMAND
Case 3:24-cv-00195-WQH-BLM Document 10-1 Filed 02/29/24 PageID.135 Page 13 of 13




    1                             CERTIFICATE OF SERVICE
    2
                                       FRCP 5(b)(2)(3)

    3      I, the undersigned, am over the age of 18 and not a party to the within action;
      my business address is: 3435 Wilshire Boulevard, Suite 1400, Los Angeles, California
    4 90010.
           .
    5      On February 29, 2024, I served the foregoing document(s) described as:
    6   PLAINTIFF’S NOTICE OF MOTION AND MOTION TO REMAND TO
      SUPERIOR COURT OF SAN DIEGO, CALIFORNIA; MEMORANDUM OF
    7                   POINTS AND AUTHORITIES
    8 on the interested parties in this action by electronically transmitting the foregoing
        document to persons as stated on the attached service list:
    9
        ☒      [by ECF ELECTRONIC SUBMISSION] – I served the above listed
   10
              document(s) described via the United States District Court’s Electronic
   11         Filing Program on the designated recipients via electronic transmission
   12         through the CM/ECF system on the Court’s website. The Court’s CM/ECF
              system will generate a Notice of Electronic Filing (NEF) to the filing party,
   13
              the assigned judge, and any registered users in the case. The NEF will
   14         constitute service of the document(s). Registration as a CM/ECF user
   15         constitutes consent to electronic service through the court’s transmission
              facilities.
   16

   17      I declare under penalty of perjury under the laws of the United States of
      America that the above is true and correct and that I am a member of and/or
   18
      employed in the office of a member of the this Court at whose direction the service
   19 was made.

   20
              Executed on February 29, 2024 at Los Angeles, California.
   21

   22
                                                       ___________________
   23                                                  Melisa Rosadini-Knott

   24

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         PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION
                                           TO REMAND
